                 Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 1 of 7




 1

 2

 3

 4

 5

 6                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
      UNIPLEX CONSTRUCTION, LLC, a
 8    Washington Limited Liability Company,              No. 2:21-cv-01050

 9                                  Plaintiff,           NOTICE OF REMOVAL OF
                                                         CIVIL ACTION UNDER
10                      v.                               28 U.S.C.§1441(a)

11    KINSALE INSURANCE COMPANY; a
      foreign corporation,
12                          Defendant.

13
     TO:            The Clerk of the Court;
14
     AND TO:        Plaintiffs, and their counsel of record.
15
            Please take notice that Defendant Kinsale Insurance Company (Kinsale) hereby removes
16
     to this Court the state court action described below:
17
                                     I.       THE SUBJECT ACTION
18
            1.      On July 8, 2021, Uniplex Construction, LLC (“Plaintiff”) filed an action in the
19
     Superior Court of the State of Washington in and for the County of King, which was assigned Case
20
     No. 21-2-08896-8 SEA (hereinafter, the “State Lawsuit”).
21
            2.      On July 14, 2021, Plaintiff provided Kinsale with a courtesy copy of the complaint
22
     filed in the State Lawsuit. This was Kinsale’s first notice of the State Lawsuit. The State Lawsuit
23
     was served on Kinsale by and through service on the Washington State Office of the Insurance
24
                                                                              LETHER LAW GROUP
                                                                      1848 WESTLAKE AVENUE N. STE. 100
                                                                         SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 1                                            P: (206) 467-5444 F: (206) 467-5544
                 Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 2 of 7




 1   Commissioner (OIC) that same day. A true and correct copy of the OIC service sheet is filed

 2   concurrently with this Notice.

 3                               II.       DIVERSITY OF CITIZENSHIP

 4          2.      In the Amended Complaint, Plaintiff alleges that it is a Washington Limited Liability

 5   Company with its principal place of business in King County, Washington.

 6          3.      Kinsale is a foreign eligible surplus lines insurer organized under the laws of the

 7   state of Arkansas and with its primary place of business in the state of Virginia.

 8                               III.      AMOUNT IN CONTROVERSY

 9          4.      This matter is an insurance coverage dispute where Uniplex alleges that Kinsale

10   breached its contract, violated the Washington Consumer Protection Act, violated the Insurance

11   Fair Conduct Act (IFCA), and was negligent. Plaintiff also seeks fees and costs pursuant to the

12   Olympic Steamship doctrine. Plaintiff further asserts that Kinsale acted in bad faith and seeks

13   declaratory judgment with respect to the rights and liabilities of the parties under an insurance

14   policy Kinsale issued to Plaintiff.

15          5.      The Kinsale policy, No. 0100069278-2, was in effect between July 1, 2020 through

16   July 1, 2021 (the “Policy”). The Policy includes a $1,000,000 each occurrence limit, $2,000,000

17   general aggregate limit and a $2,000,000 products/completed operations aggregate limit.

18          6.      Plaintiff alleges that in late 2020, it tendered a claim to Kinsale for defense and

19   indemnity from claims against Plaintiff by Laura Koutsky and Fred Forster. Plaintiff alleges, and

20   Kinsale denies, that Kinsale improperly denied the pre-suit claim.

21          7.      On June 11, 2021, Laura Koutsky and Fred Forster (“collectively referred to as

22   “Underlying Plaintiffs”) filed a suit against Plaintiff in the Superior Court of the State of

23   Washington in and for the County of King, which was assigned Case No. 21-2-07737-1 SEA

24
                                                                               LETHER LAW GROUP
                                                                       1848 WESTLAKE AVENUE N. STE. 100
                                                                          SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 2                                             P: (206) 467-5444 F: (206) 467-5544
                 Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 3 of 7




 1   (“Underlying Lawsuit”). Ex. 1 to The Declaration of Alex Wohlford (“Wohlford Decl.”) The

 2   Underlying Lawsuit was premised upon Uniplex’s failure to perform a major deck remodel

 3   according to the terms of the construction contract between Uniplex and Underlying Plaintiffs.

 4   The contract price was for $179, 926.86. Ex. 2, Page 1 to Wohlford Decl. Underlying Plaintiffs

 5   brought claims against Uniplex including Breach of Contract, Breach of Warranty and Violations

 6   of the Consumer Protection Act, including fees and costs. Ex. 1, Pages 11-14 to Wohlford Decl.

 7   Furthermore, Underlying Plaintiffs request treble damages of up to $25,000 for each violation of

 8   the Consumer Protection Act and seek to recover on two $12,000 contractor’s bonds. Ex. 1 to

 9   Wohlford Decl.

10          8.      Upon notice of the Underlying Lawsuit, Kinsale accepted the tender of defense

11   pursuant to a reservation of rights and has been defending Plaintiff.

12          9.      By tendering the claim and Underlying Lawsuit to Kinsale, Plaintiff is seeking

13   defense and indemnity for claims against it in the Underlying Lawsuit.

14          10.     Plaintiff’s claim for violations of the CPA carry a maximum civil penalty of

15   $25,000.

16          11.     Plaintiff’s clam for alleged violation of IFCA could result in trebling of actual

17   damages.

18          12.     The amount in controversy requirement may be satisfied by a claim for

19   indemnification for the claims made against Uniplex in the Underlying Lawsuit, claims for

20   contractual damages, negligent claims handling, loss of consortium, and violation of the CPA and

21   IFCA. Furthermore, Plaintiffs seek treble damages under IFCA. See, e.g., Kroske v. U.S. Bank

22   Corp., 432 F.3d 976, 980 (9th Cir. 2005); Gibson v. Chrysler Corp., 261 F.3d 927, 946 (9th Cir.

23   2001); Galt v. Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998). In addition, the Washington

24
                                                                              LETHER LAW GROUP
                                                                      1848 WESTLAKE AVENUE N. STE. 100
                                                                         SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 3                                            P: (206) 467-5444 F: (206) 467-5544
                Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 4 of 7




 1   State Supreme Court has made clear that an insured may recover attorneys’ fees in a coverage

 2   dispute with an insurer. See, e.g., Leingang v. Pierce Cnty. Medical Bureau, Inc., 131 Wn.2d. 133,

 3   146-47, 930 P.2d 288, 295-56 (1997). Fees claimed in this matter will more likely than not exceed

 4   $75,000.

 5            13.   Kinsale disagrees with any allegation that there is a valid IFCA claim, or that

 6   Plaintiff has complied with the requirements to bring a valid IFCA claim. However, based on the

 7   IFCA allegation, the claims at issue here clearly meet the jurisdictional requirements as set forth

 8   in further detail below.

 9            14.   The jurisdictional minimum may also be satisfied by claims of general and

10   unspecific damages by attorney’s fees, and by punitive damages. See, e.g., Kroske, 432 F.3d at

11   980 (9th Cir. 2005); Gibson, 261 F.3d at 946; Galt, 142 F.3d at 1155-56. In addition, the court

12   may consider facts contained in the removal petition to determine whether the amount in

13   controversy requirement has been met where an unspecified amount of damages is alleged. Kroske,

14   432 F.3d at 980 (citing Singer v. State Farm Mutual Auto. Ins. Co., 116 F.3d 373, 377 (9th Cir.

15   1997).

16            15.   Here, Plaintiff is ultimately seeking indemnification for damages claimed against

17   it in the Underlying Lawsuit. The Underlying Lawsuit effectively alleges that the $179,926.86

18   deck that Plaintiff built was defective and improperly built. In addition, the Underlying Lawsuit

19   seeks at least $49,000 in recovery from Plaintiff’s contractors’ bonds and for CPA violations.

20            16.   Therefore, the claims against Plaintiff in the Underlying Lawsuit seek in excess of

21   $200,000 for which Plaintiff seeks to have Kinsale indemnify it. In addition, Plaintiff seeks up to

22   $25,000 for alleged CPA violations, fees of at least $75,000, and has asserted an IFCA claim

23   requesting trebling of actual damages. In light of these claims, there can be no dispute that the

24
                                                                              LETHER LAW GROUP
                                                                      1848 WESTLAKE AVENUE N. STE. 100
                                                                         SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 4                                            P: (206) 467-5444 F: (206) 467-5544
               Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 5 of 7




 1   amount in controversy in this matter is in excess of the $75,000 jurisdictional limitation.

 2                                        IV.    JURISDICTION

 3           17.    For purposes of determining jurisdiction under 28 U.S.C. § 1332, Kinsale is a

 4   citizen of Arkansas. Plaintiff is a citizen of Washington. As such, diversity is complete.

 5           18.    The amount in controversy exceeds $75,000, excluding interest and costs.

 6           19.    This Court, therefore, has jurisdiction over this controversy under 28 U.S.C. § 1332

 7   and 28 U.S.C. § 1441.

 8                                         V.      TIMELINESS

 9           20.    Kinsale was notified of this lawsuit on July 14, 2021. The State Lawsuit was filed

10   on July 8, 2021. This Notice of Removal, filed on August 6, 2021, is timely under 28 U.S.C. §

11   1446.

12     VI.     COPIES OF PROCESS, PLEADINGS, ORDERS, AND MOTIONS IN STATE
                               COURT PROCEEDINGS
13
             21.    In accordance with 28 U.S.C. § 1446, attached to Notice of Removal as Exhibit A
14
     through Exhibit F are true and correct copies of all process, pleadings, and orders filed in the
15
     action before the Superior Court of King County in the State of Washington. These documents are:
16
                    A. Complaint;
17
                    B. Case Information Cover Sheet;
18
                    C. Order Setting Case Schedule;
19
                    D. Summons;
20
                    E. Amended Complaint;
21
                    F. Notice of Appearance
22
             22.    Notice of this removal will be filed with the Clerk of the King County Superior
23
     Court and will be given to all other parties, in accordance with 28 U.S.C. § 1446.
24
                                                                               LETHER LAW GROUP
                                                                       1848 WESTLAKE AVENUE N. STE. 100
                                                                          SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 5                                             P: (206) 467-5444 F: (206) 467-5544
             Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 6 of 7




 1
          DATED this 6th day of August, 2021.
 2

 3

 4

 5
                                            LETHER LAW GROUP
 6

 7                                              /s/ Thomas Lether
                                                Thomas Lether, WSBA No. 18089
 8                                              Eric J. Neal, WSBA No. 31863
                                                1848 Westlake Avenue N, Suite 100
                                                Seattle, WA 98109
 9                                              P: (206) 467-5444/F: (206) 467-5544
                                                tlether@letherlaw.com
10                                              eneal@letherlaw.com
                                                Counsel for Kinsale Insurance Company
11

12

13

14

15

16

17

18

19

20

21

22

23

24
                                                                       LETHER LAW GROUP
                                                               1848 WESTLAKE AVENUE N. STE. 100
                                                                  SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 6                                     P: (206) 467-5444 F: (206) 467-5544
               Case 2:21-cv-01050-TSZ Document 1 Filed 08/06/21 Page 7 of 7




 1                                   CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies under the penalty of perjury under the laws of the State

 3   of Washington that on this date I caused to be served in the manner noted below a true and correct

 4   copy of the foregoing on the parties mentioned below as indicated:

 5          Richard T. Beal
            Ashbaugh Beal
 6          701 Fifth Ave, Suite 4400
            Seattle, WA 98104
 7          rbeal@ashbaughbeal.com
            Counsel for Uniplex Construction, LLC
 8

 9   By:        ☒ First Class Mail             ☒ E-mail/e-service

10          Dated this August 6, 2021 at Seattle, Washington.
11
                                                         s/ Nico Schulz___________
12                                                       Nico Schulz | Paralegal

13

14

15

16

17

18

19

20

21

22

23

24
                                                                             LETHER LAW GROUP
                                                                     1848 WESTLAKE AVENUE N. STE. 100
                                                                        SEATTLE, WASHINGTON 98109
     NOTICE OF REMOVAL - 7                                           P: (206) 467-5444 F: (206) 467-5544
